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uNlTED sTATEs oF AMEaicA, $§H;§z= ‘=§-';§’; §§`t§,fp§§§
Piaimitt,
vs.

CR. NO. 04-20070-5
W!LL|AIV| NEV|LLES,

Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on iVlay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
disposition of pending motions.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a mg
date of Thursdav. June 23. 2005. at 2:00 Q.m., in Courtroom 1, ttth F|oor of the
Federa| Buiiding, |V|emphis, TN.

The period from June 17, 2005 through duty 15, 2005 is excludable under 18

U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time

|T |S SO ORDERED this

da of ne, 2005.

to prepare outweigh the need for a s§eedy trial.

/ / ¢\-QLL\
. D lNlEL BiftE`EN
UN| ED sTATEs olsTFt cT JUDG.E

 

 

 

 

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UNITED s`T"DATEISTRIC COUR - WESTERN D's'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
case 2:04-CR-20070 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

